                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )       NO. 3:24-00169
               v.                                    )
                                                     )       JUDGE RICHARDSON
[1] WESLEY OLAN LANDERS                              )

                              UNITED STATES’ MOTION
                         TO DISMISS AS TO WESLEY LANDERS

       Pursuant to Federal Rule of Criminal Procedure 48(a), the United States moves to dismiss

the Information as to Defendant Wesley Olan Landers. Defendant Landers died on or about

September 30, 2024, and there is no federal interest in continuing the case as to him.



                                                     Respectfully submitted,

                                                     THOMAS JAWORSKI
                                                     Attorney for the United States
                                                     Middle District of Tennessee
                                                     Acting Under Authority Conferred by 28
                                                     U.S.C. § 515

                                             By:
                                                     /s/ Taylor J. Phillips
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